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                                                                                         FILED
                                                                                       July 24, 2024
    SEALED                                                                       CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN DISTRICT OF TEXAS
                            UNITED STATES DISTRICT COURT                               By:     RR
                             WESTERN DISTRICT OF TEXAS                                                   Deputy
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                                     NtOn
                                        NiIoO DIVISION
                                                                   Case No:          SA:24-CR-00357-FB

 UNITED STATES OF AMERICA
         Plaintiff

                v.
                                                       INDICTMENT
 RONIN MICHAEL RHOADES
                                                       COUNT 1: 18 U.S.C. § 933
         Defendant                                     Conspiracy to Traffic Firearms

                                                       COUNT 2: 18 U.S.C. § 932
                                                       Conspiracy to Straw Purchase Firearms

                                                       COUNT 3: 18 U.S.C. § 922(a)(1)(A)
                                                       Dealing in Firearms Without a License


THE GRAND JURY CHARGES:

                                        COUNT ONE
                                [Conspiracy to Traffic Firearms]
                                           [18 U.S.C. § 933]

       From on or about October 1, 2022, to on or about April 3, 2024, in the Western and

                              Defendant,

                                RONIN MICHAEL RHOADES,

and others, did knowingly conspire to ship, transport, transfer, cause to be transported, and

otherwise dispose of any firearm, including, but not limited to, FN SCAR rifles, AR-style rifles,

AK-style rifles, Beretta pistols, Glock pistols, and a Barrett .50 caliber rifle, to another person in

and affecting interstate and foreign commerce, knowing and having reasonable cause to believe

that the use, carrying, or possession of the firearm by the recipient would constitute a felony, to

wit, Conspiracy to Smuggle Goods from the United States, in violation of Title 18, United States

Code, Section 933(a)(3).
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                                Firearm ViolaCtiO     onUsNaTndTF     WoO rfeiture Statutes
                     [Title 18 U.SCo
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                                                                  ubujrc echtatsoe fFoirrfear res pursuant to
                                                                                           itum
                                  Title 18 U.S[1.C   8 . U§.S93.C4.(a§)(9132]
                                                                           )(A) and (B)]

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of America gives notice to DtheefenDdeafnetn,dant of its intent to seek the forfeiture of the property

described below upon convictiR
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                                                          R.ACDrES., P. 32.2 and Title 18 U.S.C. §

9an3d4(oat)h(1e)r(sA
                   , d) iadnkdn(oBw),inwghlyichcosntastpei:re to purchase a firearm in and affecting interstate and foreign

commerce, including, but not limited to, FN SCAR rifles, AR-style rifles, AK-style rifles, Beretta

pistols, Glock pistols, and a Barrett .50 caliber rifle, for, on behalf of, and at the request and demand

of any other person, knowing and having reasonable cause to believe that such other person

intended to use, carry, possess, sell and otherwise dispose of the firearm in furtherance of a felony,

to wit, Conspiracy to Smuggle Goods from the United States, in violation of Title 18, United States

Code, Section 932.


                                                            THREE
                                         Dealing in Firearms Without a License
                                               [18 U.S.C. § 922(a)(1)(A)]

         From on or about October 1, 2022, to on or about April 3, 2024, in the Western District of

         Defendant,

                                              RONIN MICHAEL RHOADES,

not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States

Code, did willfully engage in the business of dealing in firearms, in violation of Title 18, United

States Code, Section 922(a)(1)(A).



         NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
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                          Firearm Violations and Forfeiture Statutes
               [Title 18 U.S.C. §§ 933 and 932, subject to forfeiture pursuant to
                            Title 18 U.S.C. § 934(a)(1)(A) and (B)]

       As a result of the criminal violations set forth in Counts One and Two, the United States

of America gives notice to the Defendant of its intent to seek the forfeiture of the property

described below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

934(a)(1)(A) and (B), which state:

       Title 18 U.S.C. § 934. Forfeiture and Fines.
       (a) Forfeiture. -­
          (1) In general. -- Any person convicted of a violation of section 932 or 933 shall forfeit
          to the United States, irrespective of any provision of State law--
               (A) any property constituting, or derived from, any proceeds the person obtained,
               directly or indirectly, as the result of such violation; and
               (B) any of the person's property used, or intended to be used, in any manner or part,
               to commit, or to facilitate the commission of, such violation . . .


                                                II.
                         Firearms Violation and Forfeiture Statutes
[Title 18 U.S.C. § 922(a)(1)(A), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
            made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violation set forth in Count Three, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of the property described below

upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made

applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which state:

       Title 18 U.S.C. § 924. Penalties

       (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
       subsection . . . (a) . . . of section 922. . . shall be subject to seizure and forfeiture. .
       . under the provisions of this chapter. . .

This Notice of Demand for Forfeiture includes but is not limited to the following property:

   1. Kel-Tec model KS7 shotgun, 12 ga. caliber, serial number Q8W61;
   2. Glock model 26 pistol, 9x19mm caliber, serial number BXAR027;
   3. Riley Defense model RAK-74 rifle, 5.45x39mm caliber, serial number C03508;

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   4.  Lee Armory model LA-AKM rifle, 7.62x39mm caliber, serial number LA000224;
   5.  FN model SCAR 17S rifle, 7.62x51mm caliber, serial number H0C21461;
   6.  Romarm/Cugir model Draco rifle, 7.62x39mm caliber, serial number DB-8314-18;
   7.  LMT Defense model Defender 2000 rifle, 5.56x45mm caliber, serial number LMT88952;
   8.  Palmetto State Armory model PSAK47 rifle, 7.62x39mm caliber, serial number
       AKB060767;
   9. Geissele Automatics model Super Duty SD-556 rifle, 5.56x45mm caliber, serial number
       SD556-2000356;
   10. Romarm/Cugir model WASR-10 rifle, 7.62x39mm caliber, serial number A1-38663-15;
   11. Wilson Combat no model AR-15-style rifle, 5.56x45mm caliber, serial number
       WCPL03422;
   12. FN model SCAR 17S rifle, 7.62x51mm caliber, serial number H0C27131;
   13. Anderson Manufacturing model AM-15 rifle, 5.56x45mm caliber, serial number
       23107734;
   14. Glock model 17 Gen 5 pistol, 9x19mm caliber, serial number BZZW444;
   15. Glock model 19 pistol, 9x19mm caliber, serial number BCVT002;
   16. Smith and Wesson model 437-2 Airweight Revolver, .38 Special caliber, serial number
       DEB4527;
   17. Maverick Arms model 88 shotgun, 12 ga. caliber, serial number MV0877909; and
   18. Any and all firearms, ammunition, and/or accessories involved in or used in the
       commission of the criminal offenses.




        JAIME ESPARZA
        UNITED STATES ATTORNEY


B Y:     _________________
        FOR WiIll   Am
                LLiIa        Al
                      M F . Ca LvVeE
        Assistant United States Attorney




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